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 J. Robert Forshey                             Jay D. Ellwanger
 State Bar No. 07264200                        Texas State Bar No. 24036522
 Laurie Dahl Rea                               jellwanger@equalrights.law
 State Bar No. 00796150                        Holt Major Lackey
 FORSHEY & PROSTOK LLP                         Texas State Bar No. 24047763
 777 Main St., Suite 1290                      hlackey@equalrights.law
 Fort Worth, TX 76102                          Ellwanger Law LLLP
 Telephone: 817-877-8855                       8310-1 N. Capital of Texas Hwy., Suite 190
 Facsimile: 817-877-4151                       Austin, Texas 78731
 bforshey@forsheyprostok.com                   (737) 808-2262 (phone)
 lrea@forsheyprostok.com                       (737) 808-2260 (fax)
                                               jellwanger@equalrightslaw.com
 ATTORNEYS FOR DEBTOR                          hlackey@equialrightslaw.com

                                               ATTORNEYS FOR JEFFREY LINES, WILLIE
                                               MUKES, AND THOSE SIMILARLY SITUATED

 Russell Devenport                             Darren G. Gibson
 State Bar No. 24007109                        State Bar No. 24068846
 McDONALD SANDERS                              Salvador Davila
 A Professional Corporation                    State Bar No. 24065119
 777 Main Street, Suite 1300                   LITTLER MENDELSON, PC
 Fort Worth, Texas 76102                       100 Congress Avenue, Suite 1400
 Telephone: (817) 336-8651                     Austin, Texas 78701
 Facsimile: (817) 334-0271                     (512) 982-7250 (Telephone)
 rad@mcdonaldlaw.com                           (512) 982-7248 (Facsimile)
                                               dgibson@littler.com
 SPECIAL LITIGATION AND                        sdavila@littler.com
 GENERAL COUNSEL FOR DEBTOR
                                               ATTORNEYS FOR DEFENDANT
                                               AMAZON.COM, INC.


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      FORT WORTH DIVISION

 In re:                                        )
                                               )
 TENET CONCEPTS, LLC                           )        Case No. 18-40270-elm11
                                               )
                          Debtor.              )        Chapter 11 Case
                                               )
 JEFFREY LINES,                                )
                                               )
                            Plaintiff,         )
                                               )
 v.                                            )        Adversary No. 18-04171-elm
                                               )
 AMAZON COM, INC., et al.                      )
                                               )
                          Defendants.          )


                            STIPULATION OF VOLUNTARY DISMISSAL OF
                            ADVERSARY PROCEEDING WITH PREJUDICE



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         IT IS HEREBY STIPULATED AND AGREED by and among the parties to this Adversary

Proceeding that the above-captioned Adversary Proceeding is hereby voluntarily dismissed

with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

         Dated: July 3, 2019.                Respectfully submitted by,

                                                     /s/ Laurie Dahl Rea
                                                     J. Robert Forshey
                                                     State Bar No. 07264200
                                                     Laurie Dahl Rea
                                                     State Bar No. 00796150
                                                     FORSHEY & PROSTOK LLP
                                                     777 Main St., Suite 1290
                                                     Fort Worth, TX 76102
                                                     Telephone: 817-877-8855
                                                     Facsimile: 817-877-4151
                                                     bforshey@forsheyprostok.com
                                                     lrea@forsheyprostok.com
                                                     ATTORNEYS FOR DEBTOR


                                                     /s/ Russell Devenport
                                                     Russell Devenport
                                                     State Bar No. 24007109
                                                     McDONALD SANDERS
                                                     A Professional Corporation
                                                     777 Main Street, Suite 1300
                                                     Fort Worth, Texas 76102
                                                     Telephone: (817) 336-8651
                                                     Facsimile: (817) 334-0271
                                                     rad@mcdonaldlaw.com
                                                     SPECIAL LITIGATION AND
                                                     GENERAL COUNSEL FOR DEBTOR

                                                     /s/ Darren G. Gibson
                                                     Darren G. Gibson
                                                     State Bar No. 24068846
                                                     Salvador Davila
                                                     State Bar No. 24065119
                                                     LITTLER MENDELSON, PC
                                                     100 Congress Avenue, Suite 1400
                                                     Austin, Texas 78701
                                                     (512) 982-7250 (Telephone)
                                                     (512) 982-7248 (Facsimile)
                                                     dgibson@littler.com
                                                     sdavila@littler.com
                                                     ATTORNEYS FOR DEFENDANT
                                                     AMAZON.COM, INC.



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                                            /s/ Holt Major Lackey
                                            Jay D. Ellwanger
                                            Texas State Bar No. 24036522
                                            jellwanger@equalrights.law
                                            Holt Major Lackey
                                            Texas State Bar No. 24047763
                                            hlackey@equalrights.law
                                            Ellwanger Law LLLP
                                            8310-1 N. Capital of Texas Hwy., Suite 190
                                            Austin, Texas 78731
                                            (737) 808-2262 (phone)
                                            (737) 808-2260 (fax)
                                            jellwanger@equalrightslaw.com
                                            hlackey@equialrightslaw.com
                                            ATTORNEYS FOR JEFFREY LINES,
                                            WILLIE MUKES, AND THOSE SIMILARLY
                                            SITUATED




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